AO 245B (Rev. 11116) Judgment in a Crimina] Case

Attachment (Page l) - Statement of Reasons

DEl-`ENDANT: TONY BERRY
CASE NUMBER: 1:150R10146-NMG-2
DISTRICT: Massachusetts

II.

III.

STATEMENT OF REASONS
(Not for Public Disclosure)
Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony and Class A misdemeanor cases.

COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

A. E The court adopts the presentence investigation report without change. '

B. U The court adopts the presentence investigation report with the following changes. (Use Secnan mt :;fnecessmy)
(Check all that apply and speci/§) court determination jindings. or comments, referencing paragraph numbers in the presentence report.)

l. |Il Chapter Two ol' the United States Sentencing Commission Guidelincs Manual determinations by court: (briejly
summarize the changes, including changes to base ojense level. or specific offense characteristics)

2. El Chapter Three of the United States Sentencing Commission Guidclines Manual determinations by court: (bri¢;{iy
summarize the changes, including changes to victim-related adjustmentsl role in the oj'ense, obstruction ofjustice. multiple caunts, or
acceptance ofresponsibility)

3. |II Chapter Four of the United States Sentencing Commission Guidelincs Manual determinations by court: (briefly
summarize the changes, including changes to criminal history category or scores, career efender status. or criminal livelihood determinations)

4. l:\ Additional Commel'lfs or Flndil'lgSZ (include comments or factual findings concerning any information in the presentence report
including information that the Federal Bureau afPrisons may rely on when it makes inmate classification designation or programming
decisions; any other rulings on disputed portions of the presentence investigation report; identification of those portions of the report in dispute
but for which a court determination is unnecessary because the matter will not affect sentencing or the court will not consider it)

C. E| The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
Applicable Sentencing Guideline: (ifmare than one guideline applies, list the guideline producing the highest oj`ense level)

COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply)

A. El One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
above the applicable mandatory minimum term.

B. El One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
a mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:

|:l findings of fact in this case: (Specij§))

EI substantial assistance (18 U.S.C. § 3553(e))
E| the statutory safety valve (18 U.S.C. § 3553(9)

C. U No count of conviction carries a mandatory minimum sentence.

COURT DETERMINATION OF GUIDELINE RANGE: (BEFORE DEPARTURES OR VARIANCES)

TotalOff`ensc Levcl: 29
Criminal History Category: l

 

 

 

Guideline Range: (a/z¢r app/waugh af§sG/.J and§scz.z) 87 to 108 months
Supervised Release Range: t¢3 years
Fine Range: $ 15.000 to $ 1,000.000

 

d Fine waived or below the guideline range because of inability to pay.

AO 2458 (Rev. l 1/16) Judgment in a Crimioal Case Not for Public Disclosum
Attachment (Page 2) - Statement ot' Reasons

DEFENDANT: TONY BERRY
CASE NUMBER:1:1SCR10146-NMG-2
DISTRICT: Massachusetts

STATEMENT OF REASONS
IV. GU!DELINE sENTENclNG DETERMINATIoN (che¢k¢u namppzy)

A. El The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
does not exceed 24 months.

B. El The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Secnon VIII ;fnecem)y)

 

C. al The court departs from the guideline range for one or more reasons provided in the Guidelines Manual.
(Alsa complete Sectian V.)
D. El The court imposed a sentence otherwise outside the sentencing guideline system (i.e., a variance). (Alsa complete Seanan VI)

V. DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (1fappiieable)

A. The sentence imposed departs: (Check only one)
El above the guideline range
E below the guideline range

B. Motion for departure before the court pursuant tot (Check all that apply and specijj) reasan(s) in sections C and D)

l. Plea Agreement
U binding plea agreement for departure accepted by the court
|J plea agreement for departure, which the com't finds to be reasonable
E| plea agreement that states that the government will not oppose a defense departure motion.
2. Motion Not Addressed in a Plea Agreement
El government motion for departure
E] defense motion for departure to which the government did not object
E| defense motion for departure to which the govemment objected
|Il joint motion by both parties
3. Other
E| Other than a plea agreement or motion by the parties for departure
C. Reasons for departures (Check allrha:apply)

5Hl.ll Military Service 5K2.8 Extreme Conduct 5K2.21 Dismissed and Uncharged
Conduct

5K2.22 Sex Offender Characten'stics

5K2.23 Discharged Terms of
Imprisonment

5K2.24 Unauthorized Insignia

5Hl.ll Charitable Service/Good Works
5Kl .l Substantial Assistance

5K2.9 CriminalPurpose
5K2.10 Victim’s Conduct

E| 4Al.3 Criminal History Inadequacy ij 5K2.l Death 5K2.]2 Coercion and Duress

E| 5Hl.l Age El 5K2.2 Physical Injury 5K2.l3 Diminished Capacity

|:l 5Hl .2 Education and Vocational Ski|ls El 5K2.3 Extreme Psychological Injury 5K2.l4 Public Welfare

El 5Hl .3 Mental and Emotional Condition L`_| 5K2.4 Abduction or Unlawiiil 5K2.l6 Voluntary Disclosure of
Restraint Offense

|:| 5Hl .4 Physical Condition El 5K2.5 Property Damage or Loss 5K2.l7 High-Capacity, Semiautomatic

Weapon

El 5Hl .5 Employment Record El 5K2.6 Weapon 5K2.18 Violent Street Gang

El 5H1.6 Family Ties and Responsibilities |Il 5K2.7 Disruption of Govemment 5K2.20 Aberrant Behavior
Function

El lI|

Cl El

E| |Il

E| |I|

5K2.0 Aggravating/Mitigating 5K2.ll Lesser Harm

Circumstances

E|E]DE|EIE|DEE|UUE|

5K3.l Early Disposition Program
(EDP)
L'.| Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (see "Lisr of
Departure Provisions " following the index in the Guidelines Manual.) (Please specify)

D. State the basis for the departure. (Use Secxian Vlll ifnecessary)

AO 245B (Rcv. l 1/16) Judgment in a Criminal Case Not for Public Disclosure
Attachment (Page 3) - Statemcnt of Reasons

DEFENDANT: TONY BERRY
CASENUMBER: 1:1SCR10146-NN|G-2
DISTRICT: Massachusetts
STATEMENT OF REASONS

VI. COURT DETERMINATION FOR A VARIANCE (lfapplieable)
A. The sentence imposed is: (Check only ane)
El above the guideline range
|`_'I below the guideline range

B. Mofiou for a Variallce before the Coul't pursuant tot (Check all that apply and specify reason(s) in sections C and D)

l. Plea Agreement

|] binding plea agreement for a variance accepted by the court

El plea agreement for a variance, which the court finds to be reasonable

E| plea agreement that states that the government will not oppose a defense motion for a variance
2. Motion Not Addressed in a Plea Agreement

l'_'l government motion for a variance

El defense motion for a variance to which the government did not object

E| defense motion for a variance to which the government objected

El joint motion by both parties
3. Other

E| Other than a plea agreement or motion by the parties for a variance

C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check all that apply)
E| The nature and circumstances of the offense pursuant to 18 U.S.C. § 3553(a)(l)
E| Mens Rea El Extreme Conduct E| Dismissedencharged Conduct
|Il Role in the Offense |J Victim Impact
|Zl General Aggravating or Mitigating Factors (.Spe¢gy)

 

El The history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(l)

El Aberrant Behavior El Lack of Youthful Guidance
El Age El Mental and Emotional Condition
El Charitable Service/Good |Il Military Service
Works
E| Community Ties El Non-Violent Offender
El Diminishcd Capacity El Physical Condition
E| Drug or Alcohol Dependence El Pre-sentence Rehabilitation
E| Employment Record D Remorse/Lack of Remorsc
E| Family Ties and El Other: (Specify)

Responsibilities
E| Issues with Criminal History: (.Specify)

 

To reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense
(18 U.S.C. § 3553(a)(2)(A))

To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

To protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))

To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with medical care (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with other correctional treatment in the most effective manner (18 U.S.C. § 3553(a)(2)(D))
To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) (Specify in section D)

To provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))

Acceptance of Responsibility El Conduct Pre-trial/On Bond |Il Cooperation Without Government Motion for
Early P|ea Agreement E| Global Plea Agreement Departure

Time Served (nor counted in sentenee) El Waiver of Indictment |Il Waiver of Appeal

Policy Disagreement with the Guidelines (Kimbrough v. U.S., 552 U.S. 85 (2007): (.Specijy)

E|E|l:|l:ll:ll:||_'_ll:ll:|l:ll:l El

 

E| Other: (.specij')

 

D. State the basis for a variance, (Use Section VIII ifnecessa)y)

AO 2458 (Rev. 1 1/16) Judgment in a Crirninal Case Not for Public Disclosure
Attachment (Page 4) _ Statemeot of Reasons

DEFEN'DANT! TONY BERRY

CASE NUMBER= 1:150R10146-NMG-2
DISTRICT= Massachusetts

STATEMENT OF REASONS

VII. COURT DETERMINATIONS OF RESTITUTION

A. lZl Restitution Not Applicable.
B. Total Amount of Restitution: $
C. Restitution not ordered: (Check only ane)

1. |Il For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

2. El For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
determining complex issues of fact and relating them to the cause or amount ofthe victims’ losses would complicate
or prolong the sentencing process to a degree that the need to provide restitution to any victim would be outweighed
by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

3. l`_'| For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
from the fashioning of a restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
3663(a)(l)(B)(ii).

4. |:l For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or .
3663A, restitution is not ordered because the victim(s)'(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5))

5. El For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s) elected to not participate in any phase of determining the
restitution order (18 U.S.C. § 3664(g)(l)).

6. |Il Restitution is not ordered for other reasons. (Explain)

 

D. Cl Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):

VIlI. ADDITIONAL BASIS FOR THE SENTENCE IN THIS CASE (Ifapplicable)

Defendant’s Soc. Sec. No.: 000'00'1093 Date of Imposition of Judgment
09/06/201 7

Defendant’s Date of Birth: 1980 `
in Federa| Custody ~BM@__-_

Defendant’s Residence Address: Signature of Judge

 

 

 

 

 

Defendant’s Mailing Address: |n Fedecal C1 lstod!¢ Name and Title of Jciud e§/[ 7
Date Si d l
gmc l l

 

 

